464 F.2d 1396
    Michael J. RYAN, Plaintiff-Appellee,v.PACIFIC COAST SHIPPING CO., LIBERIA, Defendant-Appellant.PACIFIC COAST SHIPPING CO., LIBERIA, Plaintiff-Appellee,v.SCRAP LOADERS, INC., Defendant-Appellant.
    Nos. 24934, 24935.
    United States Court of Appeals,
    Ninth Circuit.
    June 16, 1972.
    
      Before KOELSCH, CARTER and WRIGHT, Circuit Judges.
    
    ORDER
    
      1
      Following our affirmance 448 F.2d 525, of the district court's judgment for plaintiff, appellant sought and was granted certiorari by the Supreme Court.  The Court, 404 U.S. 1035, 92 S.Ct. 713, 30 L.Ed.2d 727 vacated the judgment and remanded the causes for further consideration, in light of the recent decision of Victory Carriers v. Law, 404 U.S. 202, 92 S.Ct. 418, 30 L.Ed.2d 383 (1971).
    
    
      2
      Upon due consideration of that decision, we conclude that plaintiff's claim is not one coming within the maritime jurisdiction of the federal courts, and hence the judgment must be vacated and the action dismissed.  The matter is remanded to the district court for such disposition.
    
    